     Case 2:20-cv-00804-JLB Document 11 Filed 11/06/20 Page 1 of 1 PageID 181




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

IN RE: PAUL CHARLES LAUBENSTEIN
and LISA MARY LAUBENSTEIN

              Debtors.


PILGRIM SKATING ARENA, INC.,

            Appellant,

v.                                               Case No.: 2:20-cv-00804-JLB
                                                Bankr. No.: 9:20-bk-3697-FMD

PAUL CHARLES LAUBENSTEIN
and LISA MARY LAUBENSTEIN,

              Appellees.
                                         /

                                        ORDER

        Appellant Pilgrim Skating Arena, Inc. (“Pilgrim”), moves the Court to allow

Mark C. O’Connor to appear pro hac vice as its counsel, (Doc. 8), with M. Lewis Hall

III as local counsel. See Local Rule 2.02(a). Pilgrim’s motion is GRANTED. If he

has not already done so, Attorney O’Connor is directed to file the appropriate forms,

pay the requisite filing fees, and participate in electronic filing by registering for

CM/ECF and obtaining passwords within twenty days of this Order.

        ORDERED in Fort Myers, Florida on November 6, 2020.
